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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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  ELLIOT M. HIRSCH,

                            Plaintiff,                         MEMORANDUM & ORDER
                                                              22-cv-5011(EK)(VMS)

                  -against-

  LAURIE BEDA, et. al,

                            Defendants.

 ------------------------------------x
 ERIC KOMITEE, United States District Judge:

            Plaintiff Elliot Hirsch has sued twenty-eight

 defendants in connection with events surrounding his divorce

 from his now ex-wife, Elizabeth Kairey.           He invokes this Court’s

 jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1332.                Hirsch

 pleads only two federal claims (civil RICO and RICO conspiracy).

            For the reasons stated below, those claims must be

 dismissed under Federal Rule of Civil Procedure 12(b)(6).

            This leaves the state claims.          Though Hirsch invokes

 the Court’s diversity jurisdiction under 28 U.S.C. § 1332, he

 has not sufficiently alleged complete diversity.               As set out

 below, Hirsch is therefore ordered to show cause why the Court

 should not dismiss his remaining state-law claims on

 jurisdictional grounds.

                                     Background
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             The following facts are taken from the operative

 complaint. 1   Elliot Hirsch was married to Elizabeth Kairey; both

 were members of the same Orthodox Jewish community.              Fifth

 Amended Compl. (“Compl.”) ¶¶ 1, 2, ECF 168.           In Hirsch and

 Kairey’s faith, one prerequisite to divorce is a “Get” — a

 religious divorce document provided by the husband to the wife.

 Id. ¶¶ 1, 297.     Hirsch initially refusal to give Kairey a Get,

 but eventually relented.       Id. ¶ 1.    He now claims there was an

 “intentional, pre-planned, malicious, extortion conspiracy

 against [him] formed for purposes of extracting a Get from [him]

 to give to Elizabeth Kairey.”        Id. ¶ 1.

             Proceeding pro se, Hirsch brings ten causes of action,

 all related to the alleged extortion. 2         Eight of his claims are

 state-law tort claims — for intentional infliction of emotional

 distress, defamation, false light, civil conspiracy, negligent

 infliction of emotional distress, private nuisance, negligence,

 and civil assault.      Two are federal claims — a civil RICO claim

 and a RICO conspiracy claim.



       1 Hirsch labels the instant complaint the “First Amended Complaint,” but

 this is not accurate. He has filed six complaints in the instant action,
 five of which have been dismissed or amended for various reasons. See ECF
 Nos. 1, 4, 6, 24, 42, 168.
       2 Though Hirsch is proceeding pro se, he has passed the New Jersey bar

 examination and (as far as the record reveals) is pending admission there.
 While “a court is ordinarily obligated to afford a special solicitude to pro
 se litigants . . . a lawyer representing himself ordinarily receives no such
 solicitude at all.” Tracy v. Freshwater, 623 F.3d 90, 101-02 (2d Cir. 2010);
 United States v. Pierce, 649 F. App'x 117, 117 n.1 (2d Cir. 2016) (disbarred
 lawyers also receive no special solicitude).

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             The appearing defendants have moved jointly to dismiss

 the case.    See Appearing Defendants’ Motion to Dismiss (“Mot.”),

 ECF No. 174-11; ECF Nos. 175, 176, 177, 178, 179 (each noting

 ECF No. 174 is “is a joint [motion] by all appearing

 defendants”). 3

                                      Discussion

 A. Federal Claims

             Hirsch brings two federal claims, for civil RICO and

 RICO conspiracy.     Compl. ¶¶ 270-97.      The defendants moved to

 dismiss these claims pursuant to Federal Rule of Civil Procedure

 12(b)(6).    See Mot. at 2, 4-6, 39-51.       Though there are many

 issues with Hirsch’s RICO claims, one is particularly salient:

 Hirsch fails to allege a pattern of racketeering activity.                This

 shortcoming is fatal to his claims.

             1. Standard of Review




       3 Though the most recent Amended Complaint was in 2023, several

 defendants have not yet been served. See, e.g., ECF Nos. 180, 203, 205. And
 other defendants have failed to timely answer the complaint or join the
 motion to dismiss. See, e.g., ECF Nos. 204, 206.
       Nevertheless, the following analysis applies to all defendants and
 therefore the RICO claims shall be dismissed against all defendants. Where
 “the issues concerning [a non-appearing defendant] are substantially the same
 as those concerning the other defendants, and . . . the party against whom
 the judgment of dismissal was entered, had notice and a full opportunity to
 make out his claim against” all the defendants, “[s]ua sponte dismissal of
 the complaint with respect to [the non-appearing defendants] is appropriate.”
 Hecht v. Com. Clearing House, Inc., 897 F.2d 21, 26 n.6 (2d Cir. 1990); see
 also Cintron v. Shield, No. 18-CV-1619 (RA), 2019 WL 4194429, at *3 (S.D.N.Y.
 Sept. 3, 2019) (sua sponte dismissal against non-moving defendant warranted
 where the “claims against [him] necessarily fail for the same reasons as the
 claims against [the moving defendants]”).

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             To overcome a motion to dismiss under Rule 12(b)(6), a

 complaint must plead facts sufficient “to state a claim to

 relief that is plausible on its face.”          Bell Atlantic Corp. v.

 Twombly, 550 U.S. 544, 570 (2007).         A claim is facially

 plausible “when the plaintiff pleads factual content that allows

 the court to draw the reasonable inference that the defendant is

 liable for the misconduct alleged.”         Ashcroft v. Iqbal, 556 U.S.

 662, 678 (2009).

             On a motion to dismiss, the district court must accept

 all factual allegations in the complaint as true and draw all

 reasonable inferences in the plaintiff’s favor.             See Lundy v.

 Catholic Health Sys. Of Long Island Inc., 711 F.3d 106, 113 (2d

 Cir. 2013).    However, the Court need not construe legal

 conclusions dressed as facts in favor of the plaintiff.               See

 Iqbal, 556 U.S. at 663.

             2. Substantive RICO Claim

             Hirsch alleges a violation of 18 U.S.C. § 1962(c).               A

 claim under that provision has four elements: “(1) conduct (2)

 of an enterprise (3) through a pattern (4) of racketeering

 activity.”    Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479, 496

 (1985). 4   To plead a pattern of racketeering activity, the

 plaintiff must plead predicate acts that “amount to, or . . .


       4 Unless otherwise noted, when quoting judicial decisions this order
 accepts all alterations and omits all citations, footnotes, and internal
 quotation marks.

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 otherwise constitute a threat of, continuing racketeering

 activity.”    H.J. Inc. v. Nw. Bell Tel. Co., 492 U.S. 229, 240

 (1989); see also Black v. Ganieva, 619 F. Supp. 3d 309, 354

 (S.D.N.Y. 2022), aff'd, No. 22-1524-CV, 2023 WL 2317173 (2d Cir.

 Mar. 2, 2023).

             Hirsch alleges that the “predicate acts of

 racketeering,” which he relies on to show a pattern, took place

 between March 8 and March 11, 2021.         Compl. ¶¶ 277-95.       The

 alleged activity ended when Hirsch gave his wife a Get on March

 11, 2021.    Id. at ¶ 291.     Even assuming Hirsch’s allegations

 about the predicate acts were sufficient — which they are likely

 not 5 — he fails to allege there was a “pattern” of racketeering


       5 To satisfy the pleading requirement that a defendant engaged in a
 “pattern of racketeering activity,” a plaintiff must also allege that each
 defendant “personally committed” two or more predicate acts of “racketeering
 activity.” McLaughlin v. Anderson, 962 F.2d 187, 192 (2d Cir. 1992); see
 also 18 U.S.C. § 1961(5). Hirsch does not specifically allege what RICO
 predicate acts he believes any particular defendant (other than the Edmond J.
 Safra Synagogue) has committed, let alone two per defendant. Compl. ¶ 277-
 95.
       Hirsch seems to allege that every act discussed in his complaint
 constitutes a valid predicate, without explaining how. Id. ¶¶ 270, 273, 292.
 For example, to successfully allege wire fraud Hirsch would need to allege
 facts showing “(i) a scheme to defraud (ii) to get money or property (iii)
 furthered by the use of interstate mail or wires.” Williams v. Affinion
 Grp., LLC, 889 F.3d 116, 124 (2d Cir. 2018). “A scheme to defraud is a plan
 to deprive a person of something of value by trick, deceit, chicane or
 overreaching,” and requires “a material misrepresentation” made by the
 defendant. Id. Hirsch does not allege how the defendants intended to
 deceive him into giving up a Get — the only property he alleges he was
 deprived of, Compl. ¶ 285 — when the statements allegedly made were about
 him.
       Putting aside the Court’s doubts about whether the alleged acts are
 actually predicate acts, Hirsch’s allegations are further insufficient given
 that his allegations show many defendants committed only one act. See, e.g.,
 id. ¶¶ 121-22 (single Instagram post by one defendant); ¶¶ 123-25 (same); ¶¶
 143-46 (same); ¶¶ 151-57 (same); ¶¶ 199-202 (defendant engaging in a single
 protest); ¶¶ 203-08 (granting a Get, one time); ¶¶ 77-82 (giving students
 community service credit once for attending a protest).

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 activity because he does not allege “continuing racketeering

 activity.”    H.J. Inc., 492 U.S. at 240.

              To show this continuity, “[a] plaintiff in a RICO

 action must allege either an open-ended pattern of racketeering

 activity (i.e., past criminal conduct coupled with a threat of

 future criminal conduct) or a closed-ended pattern of

 racketeering activity (i.e., past criminal conduct extending

 over a substantial period of time).”        First Cap. Asset Mgmt.,

 385 F.3d at 180.

            “To satisfy open-ended continuity, the plaintiff need

 not show that the predicates extended over a substantial period

 of time but must show that there was a threat of continuing

 criminal activity beyond the period during which the predicate

 acts were performed.”      Id.   By contrast, “[a] closed-ended

 pattern of racketeering activity involves predicate acts

 extending over a substantial period of time.”              Id. at 181.    And

 “notably,” the Second Circuit “has never found a closed-ended

 pattern where the predicate acts spanned fewer than two years.”

 Id.; see also Grace Int'l Assembly of God v. Festa, 797 F. App'x

 603, 606 (2d Cir. 2019).      Hirsch has not adequately pleaded

 either open-ended or close-ended continuity here.

            Beginning with open-ended continuity, Hirsch fails to

 allege a “threat of continuing criminal activity beyond the

 period during which the predicate acts were performed.”               First

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 Cap. Asset Mgmt., 385 F.3d at 180.         He alleges that the

 extortionary scheme was directed at “extracting a Get” from him.

 Compl. ¶ 1.    On his allegations, once the Get was extracted,

 there was nothing further to be done, as indicated by the very

 name of the alleged enterprise of the “free Elizabeth” campaign. 6

 Hirsch was thus not at any risk of further criminal activity.

             As for close-ended continuity, all of the predicate

 acts Hirsch alleges took place over a four-day span from March 8

 to March 11, 2021.      Compl. ¶¶ 278-95.      This falls far short of

 the two-year “minimum duration necessary to find closed-ended

 continuity.”    Grace Int'l Assembly of God, 797 F. App'x at 605.

             Moreover, and separate from the open-ended or closed-

 ended continuity requirements, “RICO caselaw disfavors finding

 continuity where the alleged scheme targeted few victims . . .

 and is inherently terminable.”        Black, 619 F. Supp. at 346; see

 also id. (collecting cases).        Therefore, a plaintiff’s

 “attempt[] to magnify the racketeering scheme by expanding the

 number of victims and predicate acts” when “in reality [it] is

 one scheme with one clear victim . . . is clearly insufficient

 to establish a pattern for the purposes of RICO.”             Grace Int’l

 Assembly of God, 797 Fed. App’x at 605.          Based on Hirsch’s own



       6 Hirsch alleged the enterprise “was the association in fact of each and

 every Defendant expressly referencing and/or associating with the free
 Elizabeth campaign, which was formed for purposes of inter alia, extracting a
 Get from Elliot M. Hirsch.” Compl. ¶ 272.

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 description, he is clearly describing “one scheme with one clear

 victim” — him.    See id.    And the scheme was “inherently

 terminable.”    Black, 619 F. Supp. at 346.        As alleged, the

 scheme’s entire point was to force Hirsch to give his wife

 Elizabeth Kairey a Get.      Once that goal was accomplished, there

 was nothing further for the Free Elizabeth campaign or anyone

 associated with it to do.

             Hirsch’s RICO claim must therefore be dismissed

 because he fails to adequately allege a pattern of racketeering

 activity.

             3. Conspiracy to Violate RICO

             In addition to his substantive RICO claim, Hirsch

 alleges a RICO conspiracy.      See Compl. ¶¶ 4, 270-96.         Other than

 two references to the RICO conspiracy statute, Hirsch does not

 allege anything specifically about this conspiracy.             The

 relevant section of his complaint addresses the substantive RICO

 and RICO conspiracy claims together.        See id. ¶¶ 270-96; see

 also id. at 50 (heading of “Ninth and Tenth Causes of Action –

 18 USC 1964(c), 18 USC 1962(c) and 18 USC 1962(d)”).             The Court

 therefore must read Hirsch’s conspiracy claim to rely on the

 same allegations as his substantive claim.

             Section 1962(d) of Title 18, as relevant here,

 establishes liability for conspiring to violate § 1962(c).

 Generally, where a Plaintiff “d[oes] not adequately allege a

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 substantive violation of RICO,” his RICO conspiracy claim is

 also “properly dismissed.”        First Cap. Asset Mgmt., 385 F.3d at

 182.   Of particular relevance here, “under any prong of § 1962,”

 including § 1962(d), “a plaintiff in a civil RICO suit must

 establish a pattern of racketeering activity.”              Spool v. World

 Child Intern. Adoption Agency, 520 F.3d 178, 183 (2d. Cir 2008)

 (affirming dismissal of a RICO conspiracy claim because there

 was no “pattern of racketeering activity” sufficient to state a

 substantive RICO claim).        This is because to establish a RICO

 conspiracy in violation of § 1962(d), a civil plaintiff must

 demonstrate that the alleged conspirators “agreed to participate

 in the affairs of the enterprise through a pattern of

 racketeering activity.”        United States v. Yannotti, 541 F.3d

 112, 121 (2d Cir. 2008).        “To establish this pattern, the

 [plaintiff] need not prove that the [conspirator] himself agreed

 that he would commit two or more predicate acts,” but does need

 to show the conspirator agreed to “engage in a jointly

 undertaken pattern of racketeering activities.”              Id. at 121-22.

 Thus, where “plaintiff has failed to come forward with evidence

 sufficient to raise a question of fact as to whether a pattern

 of racketeering activity existed, his RICO conspiracy claim also

 must be dismissed.”        Dolan v. Fairbanks Capital Corp., 930 F.

 Supp. 2d 396, 412 (E.D.N.Y. 2013).



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             Hirsch’s inability to articulate a pattern of

 racketeering    activity — actual or contemplated — is therefore

 also fatal to his RICO conspiracy claim.         Again, Hirsch’s RICO

 conspiracy claim is entirely derivative of his substantive

 claim.    He does not allege some separate pattern of racketeering

 activity (agreed-upon but not executed) for the conspiracy

 claim.    Hirsch’s RICO conspiracy claim therefore must be

 dismissed.

             4. Leave to Amend

             Hirsch may not amend his RICO claims, which shall be

 dismissed with prejudice.       He has already been given leave to

 amend these claims twice and has still failed to state a valid

 RICO claim.    He is not due a third bite at the apple.

             Hirsch initially brought this case in the federal

 district court for the District of New Jersey, where it was in

 front of the Honorable Freda J. Wolfson.         Before the case was

 transferred to this Court, Judge Wolfson dismissed Hirsch’s RICO

 claims for failure to allege a violation of RICO because “a

 pattern of racketeering activity requires at least two acts of

 racketeering activity within a ten-year period” and Hirsch

 “allege[d] only one act of racketeering activity.”           ECF No. 34

 at 5 (quoting In re Ins. Brokerage Antitrust Litig., 618 F.3d

 300, 363, 3rd Cir. 2010)).



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             Nevertheless, Judge Wolfson dismissed without

 prejudice, allowing Hirsch to amend.          Id.; see also ECF No. 37.

 After the case was transferred to this Court, I dismissed

 Hirsch’s RICO claims for a second time, for failure to comply

 with Rule 8.    See ECF No. 152.       This Court then afforded

 plaintiff “one more bite at this apple” to attempt to “plausibly

 allege any RICO claims.”        ECF No. 163 at 3.     But the Court

 warned then that “any future dismissal of these claims may be

 with prejudice.”     Id. 7

             Hirsch has already been given two attempts to plead

 RICO claims, and he has long been “on notice of the deficiencies

 claimed by the defendant.”         See Truman v. Brown, 434 F. Supp.

 100, 124 (S.D.N.Y 2020); see also ECF No. 163 at 3.             The RICO

 claims are dismissed with prejudice.

 B. Jurisdiction Over State Claims

             Because Hirsch’s federal claims are dismissed, the

 Court no longer has federal-question jurisdiction under § 1331.

 The Court must therefore assess whether there remains any basis

 to exercise jurisdiction over Hirsch’s state law claims.              A



       7 Indeed, as district courts in this circuit have noted, “courts should
 strive to flush out frivolous RICO allegations at an early stage of the
 litigation” as there are many “putative civil RICO claims that are nothing
 more than sheep masquerading in wolves' clothing.” Helios Int'l S.A.R.L. v.
 Cantamessa USA, Inc., No. 12-cv-8205, 2013 WL 3943267 at *5 (S.D.N.Y. July
 31, 2013); see also Chester Park View, LLC v. Schlesinger, No. 23-CV-5432,
 2024 WL 2785140, at *6 (S.D.N.Y. May 29, 2024) (collecting cases
 demonstrating that it is “the rare complaint that actually states a claim for
 civil RICO”).

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 “district court may not proceed to the merits without first

 determining whether it has subject-matter jurisdiction.”

 Platinum-Montaur Life Scis., LLC v. Navidea Biopharms, Inc., 943

 F.3d 613, 619 (2d Cir. 2019).       And “[i]f the court determines at

 any time that it lacks subject-matter jurisdiction, the court

 must dismiss the action.”       Fed. R. Civ. P. 12(h)(3).

             Having dismissed the federal claims at this early

 stage, the Court will not exercise supplemental over the

 remaining state claims.      See 28 U.S.C. § 1367 (district court

 “may decline” to exercise supplemental jurisdiction when it “has

 dismissed all claims over which it has original jurisdiction”);

 Royal Canin U.S.A. Inc. v. Wullschleger, 604 U.S. 22, 32 (2025)

 (in such circumstances, “the court may (and indeed, ordinarily

 should) kick the case to state court”).

             Thus, the state claims will proceed here only if the

 Court has diversity jurisdiction under 28 U.S.C. § 1332.            Hirsch

 has not, however, properly invoked this Court’s jurisdiction in

 diversity — at least not yet.       Thus, for the reasons that

 follow, Hirsch is ordered to show cause why the Court should not

 dismiss the remainder of his claims on jurisdictional grounds.

 See generally Catzin v. Thank You & Good Luck Corp., 899 F.3d

 77, 82 (2d Cir. 2018).

             Hirsch relies on Section 1332(a), which provides for

 jurisdiction over cases between “Citizens of different

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 States.”    See Compl. ¶ 4.     The section requires complete

 diversity, which means “all plaintiffs must be citizens of

 states diverse from those of all defendants.”            Pa. Pub. Sch.

 Emps.’ Ret. Sys. v. Morgan Stanley & Co., 772 F.3d 111, 118 (2d

 Cir. 2014).    “In a case with multiple plaintiffs and multiple

 defendants, the presence in the action of a single plaintiff

 from the same State as a single defendant deprives the district

 court of original diversity jurisdiction over the entire

 action.”    Exxon Mobil Corp. v. Allapattah Services Inc., 545

 U.S. 546, 553 (2005).

             As pleaded, the complaint actually suggested the

 absence of complete diversity (notwithstanding Hirsch’s

 invocation of Section 1332).       Hirsch says he “resides” in New

 Jersey, Compl. ¶ 6, and names three Jersey defendants — one who

 “does permanent business” in the state, and two who reside

 there, id. ¶ 7.     But Hirsch named these Jersey residents (and

 the permanent business-doer) only in his federal claims.             Now

 that those claims have been dismissed with prejudice, their

 presence in the complaint will not impede diversity

 jurisdiction.     The Second Circuit held, in Wright v. Musanti,

 887 F.3d 577 (2d Cir. 2018), that in cases that originally

 invoke the district court’s federal-question jurisdiction, the

 question of diversity need not be assessed until the federal

 claims are dismissed.      Id. at 584.    That is, the “standard rule

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 that diversity jurisdiction only exists where diversity is

 present at the time of the original complaint does not apply”

 when the original complaint was supported by a federal question.

 Id. at 584-85.

                Here, though, diversity cannot properly be assessed

 from the complaint.         To invoke diversity jurisdiction, the

 plaintiff must allege the citizenship of all parties.              Van

 Buskirk v. United Grp. of Cos., Inc., 935 F.3d 49, 53–54 (2d

 Cir. 2019).       “An individual’s citizenship, within the meaning of

 the diversity statute, is determined by his domicile.”              Id.

 Alleging “residence or place of employment alone [is]

 insufficient to establish domicile for jurisdictional purposes.”

 Lue v. JPMorgan Chase & Co., No. 21-892, 2022 WL 1146219, at *1

 (2d Cir. Apr. 19, 2022); see also Franceskin v. Credit Suisse,

 214 F.3d 253, 255-56 (2d Cir. 2000) (collecting cases).

                Hirsch alleges that he “resides at 7 Saxony Drive,

 Oakhurst, New Jersey.”         Compl. ¶ 6.   He does not allege his

 citizenship — or, for that matter, any of the defendants’.                Id.

 ¶ 7.       Instead, he alleges, variously, the residence or place of

 business of individual defendants (sometimes in the

 alternative).       Id. 8   For the entity defendants, he alleges the

 state of incorporation and / or location — but not always both



        8For example, he alleges that “Defendant, Eve Scaba[,] resides and / or
 has a place of business at [the listed Brooklyn address].” Compl. ¶ 7.

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 state of incorporation and principal place of business, as is

 required.    Id. 9   These allegations are thus insufficient to

 establish the citizenship of each defendant and therefore

 insufficient to invoke the Court’s subject matter jurisdiction.

 See Lue, 2022 WL 1146219, at *1.          Hirsch will therefore be

 directed to show cause why the state-law claims should not be

 dismissed.

                                    Conclusion

             Plaintiff’s federal RICO and RICO-conspiracy claims

 are dismissed with prejudice.       Plaintiff is ordered to show

 cause, within twenty-one days of this order, why his state law

 claims should not be dismissed on jurisdictional grounds.



             SO ORDERED.




                                      /s/ Eric Komitee
                                    ERIC KOMITEE
                                    United States District Judge


 Dated:      March 25, 2025
             Brooklyn, New York




       9 For example, he alleges that “Defendant Yeshiva of Flatbush Joel
 Braverman High School is located at 1609 Ave J, Brooklyn, New York.” Compl.
 ¶ 7.

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